FILED

U.S. DISTRICT COURT

MIDDLE DISTRICT OF TENN.
IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE MAR 06 2024
NASHVILLE DIVISION
UNITED STATES OF AMERICA ) St
) DEPUTY CLERK
)
Vv. ) Case No: 3 -QU- O00Sle
) 18 U.S.C. § 2
) 18 U.S.C. § 201(b)(2)(C)
KORBEIN SCHULTZ, ) 18 U.S.C. § 793(g)
) 22 U.S.C. § 2778(b)(2)
Defendant. ) 22 U.S.C. § 2778(c)
INDICTMENT
The Grand Jury charges:

INTRODUCTORY ALLEGATIONS

At all times relevant to this Indictment, unless otherwise indicated:

1. The defendant, KORBEIN SCHULTZ, a Sergeant and Intelligence Analyst in the
United States Army, was assigned to the 506" Infantry Battalion. KORBEIN SCHULTZ swore an
oath to faithfully discharge his duties as a soldier in the United States Army.

2. As an Intelligence Analyst, KORBEIN SCHULTZ?’s primary job duties included
developing mission analysis products to be used by the commander, command staff, and
subordinate units within the U.S. Army; gathering and providing information to assist with
mission-oriented decisions of company commanders and others; and assessing enemy
composition, disposition, and capabilities. As part of his official duties, KORBEIN SCHULTZ
had access to national defense information, some of which was export-controlled.

3. KORBEIN SCHULTZ’s most recent Non-Commissioned Officer Evaluation
Report listed one of his duties as “Classified Document Custodian, Battalion Key control

custodian.” Part of KORBEIN SCHULTZ?’s job duties entailed training other members of his

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unit on the proper handling, storage, and dissemination of classified information and information
marked as “Controlled Unclassified Information” (“CUI”).!

4, Many of the documents KORBEIN SCHULTZ had access to as an Intelligence
Analyst contained conspicuous warnings that the documents held technical data that was subject
to export controls. The warnings also stated that distribution was limited to authorized U.S.
Government agencies and contractors only and that the documents should be destroyed to prevent
unauthorized disclosure.

5. Many of the documents that KORBEIN SCHULTZ had access to as an
Intelligence Analyst were stored on restricted U.S. Government computer systems that required
users to have appropriate credentials.

6. KORBEIN SCHULTZ had a duty to protect national defense information and
received training on the proper handling of U.S. Government classified, and controlled
unclassified, information. In or around February 2023, KORBEIN SCHULTZ signed a
memorandum acknowledging a requirement for him to report to the appropriate authorities within
24 hours if he believed someone without authorization to receive classified information has
approached him seeking access to classified or sensitive information about United States

operations, organizations, equipment, or personnel.

' CUI is a distinct category of information that, while not classified, is subject to safeguarding
procedures and dissemination controls. Executive Order 13556 “establishes an open and uniform
program for managing information that requires safeguarding or dissemination controls” for CUI.
All U.S. Government agencies are required to develop and implement protective measures,
conduct regular training, and establish sanctions and reporting requirements for the misuse or
disclosure of CUI. Title 32, Code of Federal Regulations, Section 2002. The Department of
Defense implemented Executive Order 13556 via Department of Defense Instruction 5200.4,
which mandates the requirements for marking, handling, and disseminating CUI; implements
reporting and training requirements for Department of Defense components; and addresses the
misuse of CUI.

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7. KORBEIN SCHULTZ maintained a U.S. security clearance and was eligible to
access material classified up to and including the Top Secret//Sensitive Compartmented
Information level.

8. Conspirator A, whose identity is known to the Grand Jury, was a foreign national
purporting to reside in Hong Kong and was not entitled to receive either national defense
information, or export-controlled information. Conspirator A purported to work for a geopolitical
consulting firm based overseas.

9. KORBEIN SCHULTZ was not authorized to disclose sensitive U.S. military
information, or export-controlled information, to Conspirator A. Nevertheless, KORBEIN
SCHULTZ entered into a corrupt scheme whereby he collected and transmitted to Conspirator A,
and to other individuals known and unknown to the grand jury, sensitive U.S. military information,
including export-controlled information, in exchange for money.

10. KORBEIN SCHULTZ and Conspirator A repeatedly sought to obtain classified
U.S. Government information that, if disclosed without authorization, could reasonably be
expected to cause damage to the national security of the United States. Conspirator A directed
KORBEIN SCHULTZ to focus on surreptitiously collecting and transmitting information
restricted from public disclosure, precisely because of the value of that non-public information.
Moreover, Conspirator A expressly directed KORBEIN SCHULTZ to obtain classified
information and KORBEIN SCHULTZ repeatedly told Conspirator A that he would endeavor to
do so.

11. KORBEIN SCHULTZ provided Conspirator A with information regarding the

operability of sensitive U.S. military systems and their capabilities. The unauthorized disclosure

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of this information could cause damage to the national security of the United States and place the
safety of KORBEIN SCHULTZ’s fellow soldiers in jeopardy.

THE ARMS EXPORT CONTROL ACT AND
THE INTERNATIONAL TRAFFIC IN ARMS REGULATIONS

12. In furtherance of the national security and foreign policy interests of the United
States, the export of defense-related articles was regulated by the Arms Export Control Act, Title
22, United States Code, Section 2778 (‘AECA”). Section 2778(a) authorized the President of the
United States to control the import and export of defense articles and to establish a United States
Munitions List ““USML”), which identified and defined the defense articles subject to those
controls. Section 2778(b) provided that any person engaged in the business of manufacturing or
exporting any defense article shall register with the government. Section 2778(c) established
criminal penalties for any willful violation of Section 2778 or any rule or regulation thereunder.

13. The United States Department of State, through the Directorate of Trade Controls
(“DDTC”), implemented these statutory provisions by adopting the International Traffic in Arms
Regulations (““ITAR”), Title 22, Code of Federal Regulations, Parts 120 et seq. These regulations
established the USML and required an export license for the export of any items on the USML.
‘Defense articles,” as that term is used in Title 22, United States Code, Section 2778(b)(2) and the
ITAR, means items, including technical data, designated for placement on the USML as weapons,
weapons systems, aircraft, launch vehicles, missiles, bombs, and other implements of war.

14. With limited exceptions for the closest military allies of the United States, a person
or entity seeking to export from the United States designated “defense articles” on the USML must
receive a license or other approval from the DDTC.

15. At no time did KORBEIN SCHULTZ obtain a license from the DDTC.

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COUNT ONE

CONSPIRACY TO GATHER, TRANSMIT, OR LOSE DEFENSE INFORMATION
[18 U.S.C. § 793(g)]

16. Paragraphs 1 through 15 are restated and realleged as if set forth herein.

17. Beginning in or about June 2022, and continuing through the present, within the
Middle District of Tennessee, and elsewhere, KORBEIN SCHULTZ, having authorized and
unauthorized possession of, access to, and control over documents, writings, blueprints, plans,
maps, notes relating to the national defense, and information relating to the national defense which
KORBEIN SHULTZ had reason to believe could be used to the injury of the United States or to
the advantage of any foreign nation, did knowingly and unlawfully conspire together and with
Conspirator A and others, known and unknown to the grand jury, to willfully communicate,
deliver, and transmit the same to any person not entitled to receive it in violation of Title 18, United.
States Code, Sections 793(d) and (e).

Manner and Means of the Conspiracy

18. KORBEIN SCHULTZ and Conspirator A used the following manner and means,
among others, to obtain documents, photos, writings, plans, notes, and information relating to the
national defense of the United States, for the purpose of willfully communicating such information
to individuals not entitled to receive it.

a. KORBEIN SCHULTZ and Conspirator A used multiple internet-based
encrypted methods to communicate;

b. Conspirator A tasked KORBEIN SCHULTZ with collection priorities as
to the type of U.S. military information Conspirator A was interested in

receiving, including national defense information;

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c. Conspirator A instructed KORBEIN SCHULTZ to gather non-public U.S.
military information, including national defense information, and told
KORBEIN SCHULTZ that original and exclusive documents were
preferred;

d. Conspirator A instructed KORBEIN SCHULTZ to destroy evidence
regarding the nature of their relationship and their activities;

e. KORBEIN SCHULTZ surreptitiously attempted to gather national
defense information for Conspirator A by, among other actions, accessing
restricted U.S. Government computer systems to access such information;

f. KORBEIN SCHULTZ transmitted and attempted to transmit to
Conspirator A sensitive U.S. military information including export-
controlled technical data and tactical information contained in manuals and
other documents pertaining to the F-22A fighter aircraft, the HH-60W
helicopter, and intercontinental ballistic missiles; and

g. Conspirator A paid KORBEIN SCHULTZ in exchange for his efforts to
collect and transmit sensitive U.S. military information, including national
defense information and export-controlled technical data related to defense
articles.

Overt Acts in Furtherance of the Conspiracy

19. In furtherance of the conspiracy and to achieve the objects thereof, KORBEIN
SCHULTZ and Conspirator A committed and caused to be committed the following overt acts,

among others, in the Middle District of Tennessee and elsewhere:

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a. Between on or about June 7, 2022 and July 12, 2022, Conspirator A
contacted KORBEIN SCHULTZ, and requested information available to KORBEIN
SCHULTZ as an enlisted service member of the U.S. Army.

b. On or about June 25, 2022, Conspirator A directed KORBEIN SCHULTZ
to provide information on the lessons that could be learned from Russia’s war with Ukraine, and
with those lessons, what the United States could and should do to help defend Taiwan from an
attack.

c, On or about July 6, 2022, KORBEIN SCHULTZ submitted a draft
document pertaining to Conspirator A’s request to Conspirator A, who then paid $200 to
KORBEIN SCHULTZ.

d. On or about July 8, 2022, KORBEIN SCHULTZ informed Conspirator A
that he would like to turn their relationship into a long-term partnership.

e. On or about July 12, 2022, Conspirator A requested that KORBEIN
SCHULTZ provide documents that were not open-source material and indicated that open-source
material would receive less compensation.

f. On or about July 26, 2022, Conspirator A requested that KORBEIN
SCHULTZ provide information pertaining to the HIMARS artillery weapon system, along with
specific information about HIMARS performance data and how this weapon system is integrated
in warfare.”

g. On or about July 26, 2022, KORBEIN SCHULTZ sent Conspirator A a

document pertaining to the HIMARS weapon system in accordance with Conspirator A’s request.

2 HIMARS stands for High Mobility Artillery Rocket System, which allows for the launching of
multiple, precision-guided rockets.

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h. On or about July 27, 2022, Conspirator A told KORBEIN SCHULTZ that
if the recently transmitted material was “internal-only” material rather than “unclassified,” then
Conspirator A could get KORBEIN SCHULTZ more money. KORBEIN SCHULTZ
acknowledged this directive and stated that he would “see what sort of internal references [he]
could get [his] hands on.”

i. On or about July 27, 2022, KORBEIN SCHULTZ downloaded another
document from a U.S. Government computer system that pertained to the HIMARS weapon
system and transmitted it to Conspirator A.

j. On or about July 27, 2022, Conspirator A discussed with KORBEIN
SCHULTZ the need to have secure communications so that nothing would be traceable, and that
passing information with classification levels in a secure manner would result in higher
compensation for KORBEIN SCHULTZ. KORBEIN SCHULTZ acknowledged this directive
and stated that he would try to get the requested information for Conspirator A.

k. On or about July 29, 2022, Conspirator A and KORBEIN SCHULTZ
discussed hiding their illegal activities by, among other things, falsely describing their online
financial transactions as related to “car customization.”

L, From on or about July 30, 2022, to on or about August 1, 2022, KORBEIN
SCHULTZ downloaded approximately 14 additional documents, including documents pertaining
to HIMARS, from a U.S. Government computer system.

m. On or about August 2, 2022, Conspirator A tasked KORBEIN SCHULTZ
with acquiring more sensitive military information, including information on hypersonic
equipment, studies on future development of U.S. military forces, studies on major countries such

as the People’s Republic of China (“China”), and summaries of military drills/operations.

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Conspirator A also told KORBEIN SCHULTZ that the requirement for this information was that
it be exclusive, not available on the internet, and that “if there is classification level, the best.”

n. On or about August 2, 2022, KORBEIN SCHULTZ told Conspirator A
that he would “try for the exclusivity.”

0. On or about August 3, 2022, KORBEIN SCHULTZ sent Conspirator A a
document that he had previously sent to his personal email account from his Army email account
relating to the security of U.S. military command posts. This document contained CUI markings.

p. On or about August 3, 2022, KORBEIN SCHULTZ downloaded
approximately 14 additional documents from a U.S. Government computer system pertaining to
sensitive U.S. military information, including a document pertaining to U.S. Navy exercises in the
Philippine Sea and China’s observations on these exercises. KORBEIN SCHULTZ provided this
document to Conspirator A on the same date.

q. On or about August 4, 2022, Conspirator A told KORBEIN SCHULTZ
that if the document pertaining to the Philippine Sea contained classified information, Conspirator
A could pay KORBEIN SCHULTZ more money, to which KORBEIN SCHULTZ responded,
“T hope so! I need to get my other BMW back!”

r. On or about August 4, 2022, Conspirator A informed KORBEIN
SCHULTZ how much he would be paid for the documents he had transmitted and directed him
to provide additional documents. Conspirator A also noted that the classification level of the
documents was the most important factor to consider, and that documents that were “marked,”
including documents marked CUI, would have a higher value than documents that were unmarked.

s. On or about August 4, 2022, KORBEIN SCHULTZ told Conspirator A

that he would “continue to search for more documents that are marked more!”

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t. On or about August 4, 2022, KORBEIN SCHULTZ downloaded six (6)
additional documents from a U.S. Government computer system, including a document pertaining
to the HH-60W helicopter? that was marked CUI, and included a banner warning that the document
contained technical data subject to export controls, and that its distribution was limited to U.S.
Government or U.S. Department of Defense personnel.

u. On or about August 4, 2022, KORBEIN SCHULTZ told Conspirator A
that he had a document that they talked about previously, and sent Conspirator A photos of a
computer screen displaying information from the document related to the HH-60W helicopter.

Vv. From on or about August 4, 2022 to on or about August 8, 2022, KORBEIN
SCHULTZ and Conspirator A discussed how to securely send files that KORBEIN SCHULTZ
had downloaded from U.S. Government computer systems. Conspirator A instructed KORBEIN
SCHULTZ to get a new phone and to set up a new account with a foreign electronic messaging
application so that KORBEIN SCHULTZ could send Conspirator A files securely.

Ww. On or about August 7, 2022, KORBEIN SCHULTZ downloaded from a
U.S. Government computer system a document pertaining to the F-22A fighter aircraft* that was
marked CUI and included a banner warning that the document contained technical data subject to
export controls, and that its distribution was limited to U.S. Government or U.S. Department of

Defense personnel.

3 The HH-60W “Jolly Green” helicopter is a combat rescue helicopter and is an advanced version
of the better-known UH-60M Black Hawk helicopter.
4 The F-22 Raptor is a fifth-generation air superiority fighter aircraft.

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x, On or about August 7, 2022, KORBEIN SCHULTZ sent Conspirator A
photos taken from a computer screen of relevant pages from the document pertaining to the F-22A
fighter aircraft.

y. On or about August 8, 2022, KORBEIN SCHULTZ was paid
approximately $1,768 for transmitting sensitive U.S. military documents to Conspirator A.

Z. On or about August 9, 2022, KORBEIN SCHULTZ downloaded a
document pertaining to intercontinental ballistic missiles’ that was marked CUI and contained a
banner warning that the document contained technical data subject to export controls, and that its
distribution was limited to U.S. Government or U.S. Department of Defense personnel.
KORBEIN SCHULTZ sent screenshots to Conspirator A showing the table of contents of the
document pertaining to intercontinental ballistic missiles to Conspirator A.

aa. On or about August 11, 2022, KORBEIN SCHULTZ was paid
approximately $898 for transmitting sensitive U.S. military documents to Conspirator A.

bb. From on or about August 12, 2022 to on or about August 15, 2022,
KORBEIN SCHULTZ and Conspirator A discussed the value of the materials that were passed.
Conspirator A told KORBEIN SCHULTZ that the documents needed to be exclusive and that
documents marked CUI would usually garner $1,000 each. Conspirator A also advised KORBEIN
SCHULTZ to set up a secure payment system account.

cc. On or about August 12, 2022, KORBEIN SCHULTZ told Conspirator A
that he would seek out more exclusive documents like the documents he transmitted pertaining to

the HIMARS weapon system.

> An intercontinental ballistic missile typically has a range of thousands of miles and has greater
range and speed than other missiles. An intercontinental ballistic missile was historically designed
for nuclear weapons delivery.

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dd. On or about August 16, 2022, KORBEIN SCHULTZ downloaded
approximately 23 additional documents from a U.S. Government computer system including
documents related to China, and also a document regarding the U-2 high-altitude reconnaissance
aircraft that included a banner warning with export restriction markings.

ee. On or about August 19, 2022, KORBEIN SCHULTZ was paid
approximately $3,015 for transmitting sensitive U.S. military documents to Conspirator A.

ff. On or about August 22, 2022, Conspirator A sent KORBEIN SCHULTZ
additional requests for sensitive U.S. military information, including information on the THAAD
aerial missile defense system,® military satellites, and information related to U.S. forces in the
Republic of Korea.

gg. On or about August 23, 2022, KORBEIN SCHULTZ downloaded
approximately 10 additional documents from a U.S. Government computer system pertaining to
Conspirator A’s requests, including information related to the THAAD missile defense system.

bh. On or about August 24, 2022, Conspirator A advised KORBEIN
SCHULTZ that Conspirator A had received the documents that KORBEIN SCHULTZ had sent.

ii. On or about August 24, 2022, KORBEIN SCHULTZ told Conspirator A
that one of the documents was marked “un...” but that despite its file name it is “c...” and that he
hoped Conspirator A would like the recent documents he sent.

jj. On or about August 25, 2022, Conspirator A told KORBEIN SCHULTZ
that “c...” and above materials on China will receive higher compensation and that KORBEIN

SCHULTZ should look for and prioritize these documents.

6 THAAD stands for Terminal High Altitude Area Defense and is an integrated air and missile
defense system.

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kk. On or about August 26, 2022, KORBEIN SCHULTZ downloaded
approximately seven (7) additional documents from a U.S. Government computer system and told
Conspirator A, “I will just keep sending you an abundance of information.”

ll. On or about August 27, 2022, KORBEIN SCHULTZ told Conspirator A
that he wished he could be “Jason Bourne.”

mm. Onor about September 2, 2022, Conspirator A told KORBEIN SCHULTZ
that “books/manuals” on weapons systems “work best” and discussed compensation for the
passing of these documents.

nn. On or about September 2, 2022, KORBEIN SCHULTZ told Conspirator
A that he thought about moving “to Hong Kong and work for you in person.”

oo. On or about September 7, 2022, KORBEIN SCHULTZ was paid
approximately $3,500 for transmitting sensitive U.S. military documents to Conspirator A.

pp. On or about September 27, 2022, Conspirator A told KORBEIN
SCHULTZ that when Conspirator A was in “the service” Conspirator A had access to an intranet,
and encouraged KORBEIN SCHULTZ to pull documents from that system. On the same date,
Conspirator A told KORBEIN SCHULTZ that “the other option” would be to find a “third
partner.”

qq. On or about September 28, 2022, KORBEIN SCHULTZ informed
Conspirator A that he had a “few prospects” and a “buddy who is interested in writing reports.”

rr. From on or about September 29, 2022 to on or about October 4, 2022,
KORBEIN SCHULTZ and Conspirator A discussed the recruitment of a third party, known to
the grand jury as U.S. Person 1, a fellow U.S. Army soldier assigned to another area of

responsibility.

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ss. On or about October 5, 2022, KORBEIN SCHULTZ downloaded
approximately nine (9) additional military documents from a U.S. Government computer system.

tt. On or about October 7, 2022, KORBEIN SCHULTZ told Conspirator A
that he received a file from U.S. Person 1, and Conspirator A acknowledged receipt of the file
from KORBEIN SCHULTZ.

uu. On or about October 11, 2022, KORBEIN SCHULTZ was paid
approximately $2,000 for transmitting sensitive U.S. military documents to Conspirator A.

vw. From on or about October 12, 2022 to on or about October 14, 2022,
KORBEIN SCHULTZ and Conspirator A discussed the continued recruitment of U.S. Person 1
and the military topics that they would request information about from U.S. Person 1. KORBEIN
SCHULTZ and Conspirator A also discussed operational security measures to protect U.S. Person
1 and assigned U.S. Person 1 a codename.

ww. On or about October 20, 2022, KORBEIN SCHULTZ downloaded
approximately four (4) additional U.S. military documents from a U.S. Government computer
system, including a document related to China’s military preparedness, and advised Conspirator
A of this new information.

XX. From on or about October 20, 2022 to on or about October 24, 2022,
KORBEIN SCHULTZ and Conspirator A discussed the quality of the documents that
KORBEIN SCHULTZ had passed, and Conspirator A advised KORBEIN SCHULTZ on the
compensation of the documents themselves, noting that “higher level” documents would earn

KORBEIN SCHULTZ more money.

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yy. On or about October 24, 2022, KORBEIN SCHULTZ told Conspirator A
that he would try to find “better docs” and also advised that he would increase his recruitment
efforts with U.S. Person 1.

ZZ. On or about November 4, 2022, Conspirator A asked KORBEIN
SCHULTZ if U.S. Person 1 could provide information pertaining to INDOPACOM’ studies of
the Russia-Ukraine war, INDOPACOM’s studies on Taiwan, along with other information
pertaining to sensitive military weapons systems and operations.

aaa. Onor about November 7, 2022, U.S. Person 1 sent KORBEIN SCHULTZ
a paper titled “INDOPACOM Lessons Learned.”

bbb. From on or about November 7, 2022 to on or about November 10, 2022,
Conspirator A discussed with KORBEIN SCHULTZ the quality of the information provided by
U.S. Person 1. Conspirator A told KORBEIN SCHULTZ that the information was “too simple”
and that Conspirator A and Conspirator A’s purported clients are “at least expecting c...”

ccc. On or about November 9, 2022, KORBEIN SCHULTZ told Conspirator
A that he would try to get a compilation of source material pertaining to U.S. Person 1’s paper and
the next day downloaded seven (7) additional U.S. military documents from a U.S. Government
computer system. Some of these documents pertained to small, unmanned aircraft systems in large
scale combat operations. Conspirator A acknowledged receipt of these documents from
KORBEIN SCHULTZ on or about November 10, 2022.

ddd. On or about November 19, 2022, KORBEIN SCHULTZ downloaded an

additional 18 U.S. military documents from a U.S. Government computer system. Some of these

7 INDOPACOM is the unified combatant command of the U.S. military responsible for the Indo-
Pacific Region, including China and Taiwan.

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documents pertained to short-range air defense systems. Conspirator A acknowledged receipt of
these documents from KORBEIN SCHULTZ on or about November 20, 2022.

eee. On or about December 1, 2022, KORBEIN SCHULTZ was paid
approximately $1,000 for transmitting sensitive U.S. military documents to Conspirator A.

fff. On or about December 6, 2022, KORBEIN SCHULTZ downloaded
approximately 14 military documents from a U.S. Government computer system. Some of these
documents pertained to interference with airborne radar, as well as information on a U.S. Marine
Corps exercise. Conspirator A acknowledged receipt of the documents from KORBEIN
SCHULTZ on the same date.

ggg. Onor about December 7, 2022, Conspirator A asked if anything in the latest
batch of documents contained “s...material” and KORBEIN SCHULTZ advised Conspirator A
that one of the documents he transmitted is a “pre depl...ment op...rd”.

hhh. On or about December 27, 2022, KORBEIN SCHULTZ was paid
approximately $5,000 for transmitting sensitive U.S. military documents to Conspirator A.

iti. On or about January 10, 2022, KORBEIN SCHULTZ downloaded
approximately 9 military documents from a U.S. Government computer system including an
additional document marked CUI. Conspirator A acknowledged receipt of these documents from
SCHULTZ on the following date.

if. On or about January 12, 2023, KORBEIN SCHULTZ downloaded a
document from a Department of Defense computer system pertaining to Chinese military tactics.
On or about January 16, 2023, Conspirator A acknowledged receipt of that document from

SCHULTZ.

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kkk. On or about January 31, 2023, KORBEIN SCHULTZ was paid
approximately $2,999.61 for transmitting sensitive U.S. military documents to Conspirator A.

Il. On or about February 9, 2023, KORBEIN SCHULTZ downloaded a
document from a Department of Defense computer system pertaining to China’s People’s
Liberation Army Rocket Force.

mmm. In and around August 2022, KORBEIN SCHULTZ advised Conspirator
A that he would be deployed overseas. From on or about February 10, 2023 to on or about February
22, 2023, KORBEIN SCHULTZ and Conspirator A discussed operational security measures and
secure communications to allow KORBEIN SCHULTZ to securely communicate with
Conspirator A while he was deployed overseas.

non. On or about March 3, 2023, KORBEIN SCHULTZ downloaded from a
Department of Defense computer system approximately 12 documents and told Conspirator A on
or about March 4, 2023, that he obtained these documents, but that they were marked “u” because
it is harder to find “c” related stuff. Conspirator A acknowledged receipt of documents from
SCHULTZ on or about March 5, 2023.

000. On or about March 22, 2023, KORBEIN SCHULTZ was paid
approximately $5,499.61 for transmitting sensitive U.S. military documents to Conspirator A.

ppp. On or about May 2, 2023, KORBEIN SCHULTZ and Conspirator A
discussed specific requests for information. On or about the same date, KORBEIN SCHULTZ
downloaded approximately 28 additional documents from a U.S. Government computer system.

qqq. Onor about May 20, 2023, Conspirator A told KORBEIN SCHULTZ that
Conspirator A would like to meet him at a Formula 1 race overseas and make him a “senior

partner” with a “big signing bonus.” KORBEIN SCHULTZ responded, “Oh snap!”

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rir. On or about June 2, 2023, KORBEIN SCHULTZ was paid approximately
$3,999.61 for transmitting sensitive U.S. military documents to Conspirator A.

sss. On or about June 9, 2023, KORBEIN SCHULTZ downloaded
approximately 26 documents from a U.S. Government computer system and advised Conspirator
A that he would be sending them to Conspirator A for review. Some of these documents pertained
to modifications of the B-52 aircraft,® as well as countering unmanned aircraft systems.

ttt. On or about June 14, 2023, KORBEIN SCHULTZ downloaded
approximately 14 documents from a U.S. Government computer system and advised Conspirator
A that he would be sending them to Conspirator A for review.

uuu. From on or about June 14, 2023 to on or about July 18, 2023, Conspirator
A and KORBEIN SCHULTZ discussed the quality of the documents and the amount of
compensation for the documents transmitted by KORBEIN SCHULTZ.

vvv. Onor about July 18,2023, KORBEIN SCHULTZ was paid approximately
$4,999.61 for transmitting sensitive U.S. military documents to Conspirator A.

www. On or about August 10, 2023, KORBEIN SCHULTZ and Conspirator A
discussed the recent arrests of two U.S. Navy sailors who were charged with passing sensitive
military information to a Chinese intelligence service. Conspirator A advised KORBEIN
SCHULTZ that they must be more careful with security.

xxx. On or about September 11, 2023, KORBEIN SCHULTZ told Conspirator
A that once he was back from his overseas deployment they can “start back working!”

yyy. Onor about October 2, 2023, KORBEIN SCHULTZ told Conspirator A

that he was ready to get back to work.

8 The B-52 is a long-range strategic bomber aircraft.

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zzz. On or about October 24, 2023, KORBEIN SCHULTZ was paid
approximately $4,500 for transmitting sensitive U.S. military documents to Conspirator A.

aaaa. On or about November 27, 2023, Conspirator A asked KORBEIN
SCHULTZ if he would be available for a phone call to discuss “work for the next year.”
KORBEIN SCHULTZ and Conspirator A subsequently discussed their work.

bbbb. From on or about July 2022 to on or about October 2023, KORBEIN
SCHULTZ received approximately 14 payments from Conspirator A, totaling approximately
$42,000.

All in violation of Title 18, United States Code, Section 793(g).

COUNT TWO

UNLAWFUL EXPORT OF DEFENSE ARTICLES TO CHINA
[22 U.S.C. § 2778]

20.  Theallegations contained in paragraphs 1 through 19 are realleged and incorporated
as if fully set forth in this paragraph.

21. On or about August 4, 2022, within the Middle District of Tennessee, and
elsewhere, defendant KORBEIN SCHULTZ, did willfully export from the United States to the
People’s Republic of China export-controlled technical data related to defense articles, to wit, an
Air Force Tactics Techniques and Procedures manual for the HH-60W helicopter, without first
obtaining the required license or written approval from the U.S. State Department.

In violation of Title 22, United States Code, Sections 2778(b)(2) and (c), Title 22, Code of

Federal Regulations, Sections 121.1, 127.1, and 127.3, and Title 18, United States Code, Section
2.

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COUNT THREE

UNLAWFUL EXPORT OF DEFENSE ARTICLES TO CHINA
[22 U.S.C. § 2778]

22. Theallegations contained in paragraphs 1 through 19 are realleged and incorporated
as if fully set forth in this paragraph.

23. On or about August 7, 2022, within the Middle District of Tennessee, and
elsewhere, defendant KORBEIN SCHULTZ, did willfully export from the United States to the
People’s Republic of China export-controlled technical data related to defense articles, to wit, an
Air Force Tactics Techniques and Procedures manual for the F22-A fighter aircraft, without first
obtaining the required license or written approval from the U.S. State Department.

In violation of Title 22, United States Code, Sections 2778(b)(2) and (c), Title 22, Code of
Federal Regulations, Sections 121.1, 127.1, and 127.3, and Title 18, United States Code, Section
2.

COUNT FOUR

UNLAWFUL EXPORT OF DEFENSE ARTICLES TO CHINA
[22 U.S.C. § 2778]

24. The allegations contained in paragraphs 1 through 19 are realleged and incorporated
as if fully set forth in this paragraph.

25. On or about August 9, 2022, within the Middle District of Tennessee, and
elsewhere, defendant KORBEIN SCHULTZ, did willfully export from the United States to the
People’s Republic of China export-controlled technical data related to defense articles, to wit, an
Air Force Tactics Techniques and Procedures manual for intercontinental ballistic missiles,
without first obtaining the required license or written approval from the U.S. State Department.

In violation of Title 22, United States Code, Sections 2778(b)(2) and (c), Title 22, Code of

Federal Regulations, Sections 121.1, 127.1, and 127.3, and Title 18, United States Code, Section
2.

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COUNT FIVE

CONSPIRACY TO UNLAWFULLY EXPORT DEFENSE ARTICLES TO CHINA
[22 U.S.C. § 2778]

26. ‘The allegations contained in paragraphs 1 through 25 are realleged and incorporated
as if fully set forth in this paragraph.

27. Beginning in or about June 2022, and continuing through the present, within the
Middle District of Tennessee, and elsewhere, defendant KORBEIN SCHULTZ, and Conspirator
A, did knowingly and unlawfully conspire together and with each other and with others, known
and unknown to the grand jury, to willfully export technical data related to defense articles from
the United States to the People’s Republic of China without first having obtained the required
licenses from the U.S. State Department.

In violation of Title 22, United States Code, Sections 2778(b)(2) and (c), and Title 22, Code
of Federal Regulations, Sections 121.1, 127.1(a)(4), and 127.3.

Manner and Means of the Conspiracy

28. KORBEIN SCHULTZ and Conspirator A used the following manner and means,
among others, to export technical data related to defense articles from the United States to the
People’s Republic of China without first having obtained the required licenses form the U.S.
Department of State:

a. KORBEIN SCHULTZ and Conspirator A used multiple internet-based
encrypted methods to communicate;

b. Conspirator A tasked KORBEIN SCHULTZ with collection priorities and
the type of U.S. military information Conspirator A was interested in

receiving;

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c. Conspirator A instructed KORBEIN SCHULTZ to gather U.S. military
information that was not public and told him that original documents were
preferred;

d. Conspirator A instructed KORBEIN SCHULTZ to destroy evidence
regarding the nature of their relationship and their activities;

e. KORBEIN SCHULTZ surreptitiously gathered export-controlled
information concerning the U.S. military for Conspirator A, using his phone
to take photographs and his access to restricted computer systems to gather
information;

f. KORBEIN SCHULTZ exported controlled technical information
concerning defense articles related to the U.S. military to Conspirator A,
who he knew lived in China, without obtaining the required licenses or
approval from the U.S. Department of State; and

g. Conspirator A paid KORBEIN SCHULTZ in exchange for the
information and documents that KORBEIN SCHULTZ provided to
Conspirator A.

Overt Acts in Furtherance of the Conspiracy

29. In furtherance of the said conspiracy and to achieve the objects thereof, KORBEIN
SCHULTZ and Conspirator A committed and caused to be committed, among others, the overt
acts alleged in paragraphs 19(a) through 19(bbbb) above.

All in violation of Title 22, United States Code, Sections 2778(b)(2) and (c), and Title 22,
Code of Federal Regulations, Sections 121.1, 127.1(a)(4), and 127.3.

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COUNT SIX

BRIBERY OF PUBLIC OFFICIAL
[18 U.S.C. § 201(b)(2)(O)]

30. The allegations contained in paragraphs 1 through 29 are realleged and incorporated
as if fully set forth in this paragraph.

31. From in or about June 2022, and continuing through the present, in the Middle
District of Tennessee, and elsewhere, defendant KORBEIN SCHULTZ, a public official, namely,
an Intelligence Analyst in the United States Army responsible for, among other duties, protecting
United States military sensitive, CUJ-marked, and operational security information, directly and
indirectly, corruptly received, accepted, and agreed to receive and accept something of value,
namely, U.S. dollars, in return for being induced to do an act and omit doing an act in violation of
his official duties. Specifically, KORBEIN SCHULTZ corruptly received and accepted
approximately 14 payments totaling approximately $42,000 from Conspirator A, an individual
who was located in China, in exchange for gathering documents, photographs, writings and
information containing sensitive, CUI-marked, and United States military operational security
details and providing them to Conspirator A. Such conduct violated KORBEIN SCHULTZ?’s
duties and responsibilities as an Intelligence Analyst, including the duty to protect sensitive, CUI-
marked, and U.S. military documents and information.

All in violation of Title 18, United States Code, Section 201(b)(2)(C).

Criminal Forfeiture

32. The allegations contained in Counts One through Six of this Indictment are
realleged and by their reference fully incorporated herein for the purpose of alleging forfeiture to

the United States of America pursuant to the provisions of Title 18, United States Code, Sections

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793(h) and 981(a)(1)(C), Title 21, United States Code, Section 853(p), Title 22, United States
Code, Section 401, and Title 28, United States Code, Section 2461(c).

33. | Upon conviction of the alleged offense in Count One, defendant KORBEIN
SCHULTZ, shall forfeit to the United States, pursuant to Title 18, United States Code, Section
793(h)(1) any property constituting, or derived from, any proceeds the person obtained, directly or
indirectly, from any foreign government, or any faction or party or military or naval force within
a foreign country, whether recognized or unrecognized by the United States, as a result of such
violation.

34. | Upon conviction of one and more of the offenses alleged in Counts Two, Three,
Four, and Five and pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 22, United
States Code, Section 401, and Title 28, United States Code, Section 2461(c) KORBEIN
SCHULTZ, shall forfeit to the United States all property constituting, and derived from, any
proceeds the defendant obtained, directly and indirectly, as a result of the offenses and all arms
and munitions of war, and all commodities and technology which is intended to be and was being
exported in violation of law.

35. | Uponconviction of the alleged offense in Count Six, KORBEIN SCHULTZ, shall
forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C), and
Title 28, United States Code, Section 2461(c), all right, title, and interest in any and all property,
real or personal, constituting, or derived from, any proceeds traceable to the offenses; and to the
extent such property is not available for forfeiture, a sum of money equal to the total value
described above.

36.  Ifany of the forfeitable property described above in paragraphs 32 through 35, as a

result of any act or omission of the defendant;

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a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided

without difficulty; it is the intent of the United States, pursuant to Title 28, United States Code,
Section 2461(c) which incorporates the provisions of Title 21, United States Code, Section 853(p),
to seek forfeiture of any other property of the defendant up to the value of the forfeitable property
described above.

All pursuant to Title 18, United States Code, Sections 793(h) and 981(a)(1)(C), Title 22,
United States Code, Section 401, and Title 28, United States Code, Section 2461(c).

A TRUE BILL:

Foreperson i

HENRY C. LEVENTIS
United States Attorney

SH A ify

Assistant U.S. Attorney

CHRISTOPHER M. COOK
ADAM BARRY

Trial Attorneys

National Security Division

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